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  1
  1                      UNITED STATES OF AMERICA
                    UNITED STATES DISTRICT COURT
  2                       MIDDLE DISTRICT OF FLORIDA
  3                           -    -    -
  4                 HONORABLE CHARLENE EDWARDS HONEYWELL
                    UNITED STATES DISTRICT JUDGE PRESIDING
  5                    CASE NO. 8:19-CV-1895-T-36CPT
  6    WYNDHAM VACATION OWNERSHIP, INC.;                  )
       WYNDHAM VACATION RESORTS, INC.; WYNDHAM,           )
  7    RESORT DEVELOPMENT CORPORATION; SHELL              )
       VACATIONS, LLC; SVC-WEST, LLC;                     )
  8    SVC-AMERICANA,LLC, and SVC-HAWAII,LLC,             )
                                                          )
  9                                PLAINTIFFS,            )
                                                          )
 10                          VS.                          )
                                                  )
 11    THE MONTGOMERY LAW FIRM, LLC; MONTGOMERY & )
       NEWCOMB, LLC; M. SCOTT MONTGOMERY, ESQ.;   )
 12    W. TODD NEWCOMB, ESQ.; CLS, INC.; ATLAS    )
       VACATION REMEDIES, LLC; PRINCIPAL TRANSFER )
 13    GROUP, LLC; DONNELLY SNELLEN; JASON LEVI           )
       HEMINGWAY; MUTUAL RELEASE CORPORATION;             )
 14    DAN CHUDY; MATTHEW TUCKER and CATALYST             )
       CONSULTING FIRM, LLC,                              )
 15                                                       )
                                   DEFENDANTS.            )
 16
 17                            MOTION HEARING
                     **Held Via Zoom Video Conferencing **
 18
 19                  REPORTER'S TRANSCRIPT OF PROCEEDINGS
                                FEBRUARY 10, 2021
 20                                TAMPA, FLORIDA
 21
 22    SHARON A. MILLER, CSR, RPR, CRR,FCRR
       IL CSR 084-2617
 23    FEDERAL OFFICIAL COURT REPORTER
       801 N. FLORIDA AVENUE, SUITE 13A
 24    TAMPA, FLORIDA 33602
 25    Proceedings recorded by mechanical stenography,
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 25

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  1                    TAMPA, FLORIDA; FEBRUARY 10, 2021
  2                                  -   -    -
  3                     (COURT IN SESSION AT 1:16 P.M.)
  4                THE COURT: Good afternoon.
  5                MR. WAUGH: Good afternoon, Your Honor.
  6                MR. CHRISTU: Good afternoon, Your Honor.
  7                THE COURT: We are here in Wyndham Vacation
  8      Ownership, et al., versus The Montgomery Law Firm, et al.,
  9      case 8:19-cv-1895. Counsel, please identify yourselves
 10      for the Court starting first with Counsel for the
 11      Plaintiffs.
 12                MR. CHRISTU: Good afternoon, Your Honor. Eric
 13      Christu for the Bowen Law Firm for the Wyndham Plaintiffs.
 14      Here in my conference room with me is my partner Jonathan
 15      Hart.
 16                THE COURT: All right.
 17                MR. CHRISTU: Good afternoon.
 18                THE COURT: Good afternoon.
 19                MS. RUBIN: In addition Glennys Rubin with Shutts
 20      & Bowen for Plaintiff.
 21                THE COURT: Counsel for Defendants?
 22                MR. WAUGH: Your Honor, good afternoon. Christian
 23      Waugh from Waugh Law, PA on behalf of the Montgomery Law
 24      Defendants which includes Montgomery Law Firm, Montgomery
 25      LLC, Scott Montgomery and Todd Newcomb.

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  1                THE COURT: Okay.
  2                MR. WILSON: Good afternoon, Judge. David Wilson
  3      on behalf of Dan Chudy.
  4                THE COURT: All right. I have noticed for hearing
  5      several motions this afternoon. I have a motion for
  6      summary judgment as to Count IV, a motion to strike and a
  7      motion to dismiss the Montgomery Defendants, amended
  8      counterclaims and to strike certain of the Montgomery
  9      Defendants' Amended Affirmative Defenses.
 10                Let's start first with the one that I think will
 11      take the least amount of time and I can most easily
 12      dispose of it, and that's the motion for summary judgment
 13      as to Count IV, Doc. 29 -- 295. You may proceed.
 14                MR. WAUGH: Thank you, Your Honor. I mean first
 15      of all, I completely agree with the Court's representation
 16      about this motion. I think it's pretty clear. I'm not
 17      contending at all that this Court does not have mandatory
 18      authority under the Eleventh Circuit Court of Appeals on
 19      how to dispose of that, but what I wanted to get in front
 20      of the Court, Court's attention in this motion is that
 21      there are other Federal courts in the United States that
 22      are finding that this cause of action does not exist.
 23      Clearly the Eleventh Circuit says it does, but what's
 24      emerging in this country is a conflict, and what I'm
 25      suggesting to the Court is that given that my clients are

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  1      being sued for a cause of action that really might not
  2      exist so far as it hasn't been settled by the Supreme
  3      Court but that there is an emerging circuit split, I was
  4      asking for essentially the Court's discretion on possibly
  5      certifying this back up to the Eleventh Circuit as an
  6      immediate appeal under 12 U.S.C. Section 1292(b), and I
  7      really think that's all there is to say about it, Your
  8      Honor.
  9                I really don't want to, in full duty of candor to
 10      the Court, I'm not trying to hide the ball. There is
 11      dispositive law on this.
 12                THE COURT: Dispositive law in Duty Free America's
 13      Inc. versus Estee Lauder Companies at 797 F.3d 1248,
 14      Eleventh Circuit decision from 2015 which is binding on
 15      this Court. Would you agree?
 16                MR. WAUGH: I do, Your Honor.
 17                THE COURT: Okay. Then let me hear from opposing
 18      Counsel with regard to the motion, and more importantly
 19      since Counsel has acknowledged that there is binding law
 20      in the Eleventh Circuit that this Court is bound by, you
 21      should spend most of your time addressing whether this
 22      matter should be certified for an immediate interlocutory
 23      appeal.
 24                MR. CHRISTU: Yes, Your Honor. It sounds like a
 25      concession on the summary judgment and still we are faced

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  1      with the motion. We responded to it. It was a little bit
  2      awkward responding to a motion where it was kind of
  3      conceded that they were wrong, but it sounds like that
  4      concession has been made official today, so I'll just say
  5      I'd agree with Mr. Waugh, recognizing that summary
  6      judgment would be inappropriate from -- you know, in that
  7      vein.
  8                So on certification, Judge, I think, first of all,
  9      we would disagree with the representation of the emerging
 10      case law. We cited a number of cases, Your Honor, in our
 11      papers showing that, you know, courts all over the country
 12      and certainly in this district and in Florida within the
 13      Eleventh Circuit have been following the Eleventh's lead
 14      in terms of that, so I don't see certification as being a
 15      proper option here, Your Honor.
 16                We cited three cases in our response, probably the
 17      most significant one I think, Judge, is Judge Dalton's
 18      opinion in the Pizza Hut case. What Judge Dalton said
 19      there was where the jurisdiction where the order has come
 20      from has already decided the issue, there cannot be a
 21      substantial ground for difference of opinion, which is one
 22      of the prongs necessary for Your Honor even to entertain
 23      certification, and I believe that that frankly has also
 24      been conceded by opposing Counsel. How can you really say
 25      there's a substantial ground for difference of opinion

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  1      when they now today concede that there's a clear holding
  2      of an Appellate Court directly above? So the same
  3      infirmity, Your Honor, that exists in the summary judgment
  4      exists in the certification.
  5                Even for the possibility of moving forward, you
  6      would need satisfaction of the three prongs, and certainly
  7      prong number two is not met.
  8                Judge, very briefly on prong three, I would submit
  9      that prong three isn't met either in the sense that an
 10      immediate appeal will materially advance the ultimate
 11      determination of the case. That's not the case here, Your
 12      Honor. There's lots of other parties and claims that are
 13      going to proceed, several of them along the lines of the
 14      same underlying facts as the one at issue, so as an
 15      immediate appeal, and that's, of course, assuming I guess
 16      that Mr. Waugh's client would lose on that. If they don't
 17      lose on that, there's not going to be an appeal, but the
 18      idea that we would need to take an immediate interlocutory
 19      appeal just doesn't fit this case.
 20                Certainly have a dispositive holding of the
 21      Eleventh Circuit, and it is clear, Your Honor, that the
 22      immediate interlocutory appeal would not advance the
 23      determination of this case as there would remain issues
 24      and parties to be resolved going forward regardless of
 25      that. So that would be our position on certification,

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  1      Your Honor.
  2                THE COURT: Mr. Waugh, did you want to address any
  3      aspects? I have reviewed obviously your motion and you
  4      may now address anything that remains with regard to the
  5      request for certification to the extent you'd like to make
  6      some argument.
  7                MR. WAUGH: Thank you, Your Honor. Just to be
  8      clear, I believe that the second prong is met, that there
  9      is a substantial ground for difference of opinion and
 10      there's two reasons for that. One is that the statute
 11      itself in the Lanham Act controls no language at all
 12      creating this cause of action, but, second of all, there
 13      are now courts that are recognizing that, including in
 14      2019 the Northern District of Illinois, it's in our
 15      motion, but the Court described the Eleventh Circuit
 16      holding as novel. And in that line, I suppose, Your
 17      Honor, this motion -- I mean I agree this motion is
 18      awkward. This motion is novel, but I think it would
 19      advance the resolution of the litigation in a third prong
 20      insofar as it might save time on the back end. If there
 21      ever is a judgment against my client, this train gets
 22      rolling now and they've got dozens of cases using this
 23      cause of action. This may provide certainty not just in
 24      our case but all around the circuit.
 25                THE COURT: Okay. With regard to the lawyer

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  1      Defendants' motion for summary judgment as to Count IV
  2      which is Docket Entry 295, I'm going to deny the motion
  3      for summary judgment, partial summary judgment as to --
  4      because it only applies as to Count IV. The case law in
  5      the Eleventh Circuit which I've already addressed, Duty
  6      Free America's, Inc. versus Estee Lauder Companies is
  7      contrary to the position advanced in the motion and, of
  8      course, that decision is binding on this Court, and so I
  9      would deny the motion.
 10                With regard to certifying the issue for immediate
 11      interlocutory appeal, I'm also going to deny that request.
 12      When I look at the prongs that must be established before
 13      the judge may certify a question for immediate appeal, in
 14      this case, I don't believe that prong two has been met.
 15      The question of law should be one as to which there's
 16      substantial ground for difference of opinion, because
 17      there's not a basis for substantial difference of opinion
 18      within the Eleventh Circuit, if you will, because that's
 19      the controlling decision.
 20                There may be other circuits or other district
 21      courts throughout the country that differ, but in terms of
 22      certifying it to the Eleventh Circuit, I don't think that
 23      there are grounds for difference of opinion among the
 24      courts in the Eleventh Circuit. I also don't see how the
 25      appeal would materially advance the ultimate termination

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   1      of the litigations as this is only with regard to one
   2      count and there are other counts that the Court would
   3      still need to address here, and so I really fail to see
   4      how it would advance the ultimate termination.
   5                And to the extent it involves a controlling
   6      question of law, again, it's not with regard to the entire
   7      case but with regard to a count. And so for those
   8      reasons, the Court is not going to certify the issue for
   9      immediate interlocutory appeal and the motion will be
  10      denied.
  11                I'm now going to go to the motion to dismiss at
  12      Doc. 283, and it is the Plaintiff's motion to dismiss the
  13      Montgomery Defendants' amended counterclaims.
  14      Mr. Christu.
  15                MR. CHRISTU: Thank you, Your Honor. So, Your
  16      Honor, I know you know the background because Your Honor
  17      previously entered an order here, but very briefly, in the
  18      response to the motion to dismiss at ECF 288 which they
  19      filed back in June of last year, the Defendants generally
  20      recognized the defects in their pleading I think, or in
  21      that response it advises that the Court that they expected
  22      to be filing a further amended complaint to help shore up
  23      the counts and to assert related claims.
  24                Now, eight months have passed since they made that
  25      pronouncement to the Court in their response and no

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   1      further amendment was ever proposed, so we are left with
   2      the claims in ECF 283. And although the Court did in its
   3      earlier order dismiss the entire prior counterclaim as a
   4      shotgun pleading, Your Honor did address the merits of the
   5      claims and you did that. What you said in your order was
   6      to provide some guidance to the Defendants in terms of
   7      going forward with the amendment.
   8               And, Judge, our position is that the defects
   9      pleading which were the subject of Your Honor's order at
  10      ECF 275 still exists and have not been addressed
  11      sufficiently and warrant dismissal again.
  12               Judge, where I'd like to start with is the
  13      tortious interference count which is Count I. Your Honor
  14      previously found that the original counterclaim lacked any
  15      specificity as to specific customers which is a
  16      requirement to be pled, and, Your Honor, despite Your
  17      Honor's guidance on that point, the Defendants have not
  18      addressed this other than really to add some language at
  19      Paragraph 17 that they will not be identifying specific
  20      customers basically for the same reason that the Court
  21      earlier had ruled with respect to on a motion with respect
  22      to Wyndham's claims.
  23               Judge, those are really apples and oranges.
  24      They're really different claims, different theories, and
  25      the fact that the Court had earlier made some type of

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   1      pronouncement with respect to the specific identities of
   2      customers on Wyndham's pleadings is not in any way
   3      dispositive of that issue on the present pleading before
   4      the Court.
   5               Wyndham on the contrary did identify specific
   6      relationships and made specific claims with respect to
   7      interference, and that has not -- is not the case in the
   8      pleading before the Court. They have not alleged, nor do
   9      I think they can allege, a single law firm client who was
  10      allegedly misled and allegedly apparently left the law
  11      firm. Again, Your Honor, just for background, these are
  12      lawyers in a law firm, and so although we sort of speak in
  13      terms of customers, here we would be speaking of clients
  14      of a law firm, and that's really the only thing, Your
  15      Honor, that has materially changed with respect to the
  16      earlier counterclaim that you did dismiss and the present
  17      one before Your Honor.
  18               There just is not any type of allegation in here
  19      with respect to any kind of breach of an existing law firm
  20      client relationship. If Your Honor looks at Paragraph 17
  21      and 18, which I think are probably the most operative
  22      paragraphs, if we're going to find it anywhere, we're
  23      going to find it there, and it's not there, Your Honor.
  24               In 17 of the Amended Counterclaim, they talk about
  25      parties to contracts with the Montgomery Defendants that

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   1      are being interfered with just generically, and it's
   2      really difficult to tell whether they're talking about
   3      existing relationships or prospective relationships, seem
   4      to be kind of conflating that, but nowhere do they
   5      identify or state that they have lost any type of client
   6      with respect to any action by Wyndham.
   7               In 18 they talk about some type of intimidation in
   8      the first line of 18, and the second line they talk about
   9      that this may have undermined existing consisting --
  10      existing contractual relationship by some type of lawsuit,
  11      but they do not say the simple words which need to be
  12      said, that they lost any customers or there was any breach
  13      of agreement as a result of any actions by Wyndham, and
  14      they certainly do not identify any type of -- with any
  15      type of specificity who those people are or when that
  16      happened or anything of the nature.
  17               And, Your Honor, as we pointed out in our ruling
  18      papers and I believe a case Your Honor used the last time
  19      in Your Honor's order, the Dunn versus ALPA case, a claim
  20      of this nature, Your Honor, requires a relationship with a
  21      particular party, not a relationship with a general
  22      business community or some kind of group.
  23               And, Your Honor, Count I's present language
  24      suffers from the same defect that Your Honor identified in
  25      the earlier version. It's not been remedied. It's

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   1      nowhere to be found, this allegation of damage lost by
   2      these clients occasioned by our clients' conduct, and,
   3      Your Honor, you know, I think at this point the dismissal
   4      of this count should be with prejudice. I don't think
   5      they've met their burden and, you know, we're given the
   6      chance to fix that and did not, and that's our position on
   7      that count, Your Honor.
   8               I don't know if you want to go count by count and
   9      have Counsel respond. I leave that up to Your Honor.
  10               THE COURT: I'm going to go count by count, and so
  11      I'll now hear the response to the argument regarding the
  12      tortious interference claim.
  13               MR. WAUGH: Thank you, Your Honor. In the motion
  14      to dismiss, there are only two reasons stated for
  15      dismissal of Count I, and learned opposing Counsel has
  16      been presented an argument that is not in the motion
  17      regarding the failure to state damages, but what I will --
  18      I'll begin by saying that a specific class of business
  19      relationship is identified, did take the Court's
  20      previously ruling to heart in Paragraph 17 where at the
  21      end of the paragraph it states that these are -- and
  22      opposing Counsel brought it up, that it's the class of
  23      clients, people who are clients with my clients, Your
  24      Honor. In other words, we're only talking about people
  25      who have existing client relationships with my clients,

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   1      and so that we think is specific class. It's not a group
   2      of prospective people out in the ether who haven't
   3      retained my clients yet, so that was one ground that they
   4      raised.
   5                Another ground was that in the motion they stated
   6      that Count I is entirely predicated upon a statement by
   7      Plaintiffs that is true; in other words, my client has
   8      alleged tortious interference based on a false statement;
   9      that false statement being that once a timeshare owner has
  10      retained legal Counsel, Wyndham is no longer able to deal
  11      directly with them. Our contention that that is clearly
  12      false. They cited a Florida Rule of Professional Conduct
  13      4-4.2 which has no bearing on that whatsoever. That rule
  14      states basically that a lawyer must not communicate about
  15      the subject of the representation with a person the lawyer
  16      knows to be represented by another lawyer in the matter.
  17      In other words, this rule applies to lawyers, Your Honor,
  18      not the client.
  19                It happens all the time that parties resolve
  20      things without help or I should say interference of their
  21      lawyers, and what my client is alleging has to be taken as
  22      true for the purposes of a motion to dismiss.
  23                Their motion to dismiss just says, well, it should
  24      be dismissed because they're wrong, but this is a matter
  25      for proof later on, Your Honor, and so that is why it

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   1      should be denied as to Count I.
   2               THE COURT: Next count, next argument.
   3               MR. CHRISTU: Judge, the next one, and Counsel did
   4      touch on it, I wanted to -- one argument we do have with
   5      respect to all counts, I, II and III, I do have an
   6      argument that is the alleged, the only really alleged
   7      misrepresentation and that is the dismissed representation
   8      that they speak of in terms of that Wyndham can't work
   9      with you if you retain Counsel because you now have
  10      Counsel and we can't work with you directly is an
  11      objectively true statement, and so we have argued
  12      alternatively with respect to both Count I, tortious
  13      interference, Count II libel, and Count III, unfair
  14      competition, that that is grounds for dismissal with
  15      respect to all three.
  16               And, Judge, with respect to the unfair competition
  17      issue, it really -- on that Count, it really is the same
  18      argument with respect to the earlier one. The elements
  19      really are the same insofar as Count III and Count I, but
  20      Count III, Your Honor, has an additional problem and for
  21      that reason it's the same elements basically of unfair
  22      competition as Count I, but Count III has an additional
  23      problem, Your Honor.
  24               Count III, the unfair competition count, only
  25      incorporates Paragraphs 1 through 13 and Paragraph 15 and

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   1      that's the only other allegations that are contained
   2      within Count III of unfair competition. So, this is the
   3      same problem that Your Honor pointed out at Page 11 of
   4      Your Honor's prior order. There are effectively no
   5      factual allegations supporting the allegations, the claims
   6      in Count III for unfair competition.
   7               If Your Honor looks at those paragraphs that I
   8      cited that are incorporated, they are just introductory
   9      allegations with respect to who the parties are, et
  10      cetera, so the defect that Your Honor found with respect
  11      to that claim and noted at Page 11 of Your Honor's order
  12      is still present and has not been remedied and is
  13      additionally defective and dismissible on that ground.
  14               THE COURT: Mr. Waugh, would you like to respond
  15      to that?
  16               MR. WAUGH: Yes, Your Honor. I admit that Count
  17      III is skimpy, and as opposing Counsel remarked, we filed
  18      this response back in June. I did imply that I would
  19      follow up with a motion for leave to amend, but without
  20      the Court's guidance on filing -- for filing another
  21      amended pleading, taking over for previous Counsel, I mean
  22      I don't know if the Court recalls, but we now live in an
  23      age of cat filters and dog filters on Zoom calls, but it
  24      used to be that people might take their pants off when
  25      going into a Federal courthouse, and so we've been doing a

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   1      little bit of damage control. This counterclaim was
   2      prepared as I took over. I'm defending it as best I can.
   3      I do think Count III is skimpy. That argument was not
   4      raised in the motion to dismiss.
   5               The arguments that were raised in the motion to
   6      dismiss were that it's based on a false statement and/or
   7      that is demonstrably true, and, again, Your Honor, we
   8      believe that that is a matter of proof for later on
   9      because the allegations have to be taken as true.
  10               THE COURT: Now, that argument was raised in the
  11      motion to dismiss, that you did -- I am pretty sure I
  12      recall reading that in the motion to dismiss.
  13               MR. CHRISTU: I believe it's Page 6, Your Honor,
  14      of the motion.
  15               MR. WAUGH: You know, it's in the footnote. I
  16      stand corrected, yes, Your Honor.
  17               THE COURT: All right. And so we will now go on
  18      to the next argument.
  19               MR. CHRISTU: Thank you, Your Honor. Next I'd
  20      like to address the argument with respect to Count IV, the
  21      Lanham Act count. Your Honor, this count was likewise
  22      previously dismissed by Your Honor. The argument here is
  23      basically they have not alleged proper standing under the
  24      Lexmark case. There's an absence of any allegations, Your
  25      Honor, which make the necessary type of link or causation

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   1      between this Ovation program which they allege is
   2      misleading of Wyndham's and any possible causal damage to
   3      the lawyers or this law firm. Lexmark, of course, Your
   4      Honor, requires that the alleged injury have a
   5      sufficiently -- quote, "sufficiently close connection to
   6      the allegedly false statements."
   7               Not only, Your Honor, is that not alleged in the
   8      Amended Counterclaim, but frankly it really probably can't
   9      be because it doesn't really make any sense. This Ovation
  10      program is a program that Wyndham puts out that operates
  11      to potentially benefit Wyndham customers by allowing them
  12      to exit their timeshare. Even if this program were
  13      somehow illusory or false or something, some problem with
  14      it in terms of how it's been represented, the only
  15      possible harm flowing from that would be to Wyndham
  16      customers who, you know, might have been mislead, but the
  17      idea that this law firm was damaged by that is not only
  18      not pled and not alleged but really wouldn't make any
  19      sense anyway, so that we think was a fatal defect back
  20      then and is a fate -- back when Your Honor ruled the first
  21      time and is a defect again.
  22               Also not addressed in this Amended Counterclaim
  23      which was the subject of Your Honor's earlier order, and
  24      I'm specifically looking at Page 13 of Your Honor's order
  25      with respect to this count and whether it states a claim,

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   1      it continues to fail to state a claim and does not
   2      sufficiently allege why these advertisements are false or
   3      misleading.
   4               Again, Your Honor, what we have is purely
   5      conclusory statements as to the false or misleading nature
   6      of these advertisements. If you look at the Amended
   7      Counterclaim Paragraphs 40, 42, 44, and 46, they are
   8      simply sentences that say these ads are false and
   9      misleading with no specificity whatsoever. The alleged
  10      untrue statements concerning the Ovation program are not
  11      even contained anywhere in the alleged false ads, and
  12      these alleged false ads do not mention the law firm or
  13      these lawyers.
  14               So for those reasons, Your Honor, we don't think
  15      Your Honor -- we don't think it was fixed for Your Honor's
  16      prior finding of defective allegations, and we would
  17      state, Your Honor -- would suggest that it's still
  18      dismissible as pled.
  19               THE COURT: All right. Response with regard to
  20      Count IV.
  21               MR. WAUGH: Yes, Your Honor. As a first matter,
  22      obviously this proceeds under the Lanham Act. This count
  23      is based -- the general theory for this count is that
  24      there's competition between Wyndham and my client, and
  25      that comes straight from Wyndham's pleading, and the basis

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   1      for that competition is that Plaintiffs have a program
   2      called Ovation. And this is pled. This is in Count IV.
   3      This Ovation program purports to help people exit or
   4      possibly get some kind of relief from their timeshare
   5      obligations. My clients are in the business of also
   6      providing some relief, and sometimes that relief is
   7      actually sending them to Ovation, but the problem is even
   8      though it's been stated to the Court that it's not
   9      explained anywhere where the false statements are, it's in
  10      Paragraphs 49, 52 and 56 in spades.
  11               Paragraph 56 talks about how the Ovation
  12      representations which are made above are deceptive by
  13      showing that they will only take certain kinds of owners.
  14      So, when they take people who do not have financing on
  15      their timeshares and reject all of the ones that have
  16      financing or have mortgages on their timeshares, they're
  17      misleading people into Ovation and away from my clients.
  18      My clients are therefore damaged by this Ovation program
  19      and the false deceptive statements that are promulgated.
  20      It deprives them of a better option. That's my client's
  21      contention. It deprives my clients of business and it
  22      leads the clients down a garden path.
  23               This is similar actually to the Lanham Act claim
  24      brought by Wyndham which is that when clients -- excuse
  25      me -- when timeshare owners hire my clients, they're being

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   1      sold, you know, a bridge in Brooklyn, you know, and that
   2      they don't get what they bargained for. Same here
   3      with Ovation.
   4                This is adequately pled for the purpose of
   5      standing because in the Lexmark case what they hold is,
   6      quote, "a Plaintiff can be directly injured by a
   7      misrepresentation where a third-party and not the
   8      Plaintiff... relied on the representation."
   9                Here, what my clients are pleading is that there
  10      is a set of persons who are being directly injured by
  11      these misrepresentations about Ovation. They're not
  12      getting out fast enough. This is in Paragraph 56.
  13      They're not getting the ends that they desire. This is in
  14      Paragraph 56; that they relied on these statements, and
  15      that this is causing damage to my client because then my
  16      clients aren't receiving the business. These
  17      representations are specifically designed and aimed at my
  18      client.
  19                Your Honor, in Paragraph 47, there's a sentence
  20      that is italicized and it says, "owners please take note.
  21      If you retain a timeshare exit attorney, Wyndham is
  22      legally prohibited from working directly with you on a
  23      financial solution." These kind of false statements, Your
  24      Honor, are well within the ambit of the Lanham Act and we
  25      believe that it should be something that my client is

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   1      entitled to prove and that's the case, Your Honor.
   2               THE COURT: Well, and I'll tell you, in reviewing
   3      your counterclaim, it did appear initially that perhaps it
   4      was conclusory to the extent that you made statements and
   5      then, for example, Paragraph 50 "on information and belief
   6      Wyndham's said representations of false, misleading and
   7      deceptive." There you do go on to say, "and in particular
   8      because Wyndham does not have adequate, qualified or
   9      effective resellers." But then as I continue to read, I
  10      did see that you were -- at least I was of the impression
  11      that you were explaining what the deceptive, illusory and
  12      inadequate statements are with regard to this case in
  13      Paragraph 56 which goes on to set forth more information.
  14      That seems to be what you're arguing here, is that the
  15      information upon which you are relying is contained in
  16      Paragraph 56 for the most part.
  17               MR. WAUGH: Yes, Your Honor.
  18               THE COURT: Okay. I'll go back to Mr. Christu.
  19               MR. CHRISTU: Your Honor, turning back to Your
  20      Honor's order where we kind of started with insofar as the
  21      insufficiency of these allegations, I think when you look
  22      at 56, there is some description about the Ovation program
  23      and what they believe to be deceptive, illusory and
  24      inadequate, but what's missing is what was still missing
  25      the last time is any type of connection between those

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   1      allegations and any harm suffered by this law firm.
   2               The Ovation program does not refer -- these ads do
   3      not refer to the law firm. They do not refer to these
   4      lawyers, and they have failed to allege the necessary
   5      causal link between these alleged misrepresentations and
   6      any damage to this law firm. They haven't alleged it nor
   7      do I think they really can allege it because they -- it
   8      doesn't refer to them. It's not something that is being
   9      said with respect to those Defendants.
  10               So even if, Your Honor, 56 is more descriptive of
  11      what they contend is deceptive, illusory and inadequate,
  12      they haven't alleged the next part of that which is the
  13      requirement under the case law in order to plead this
  14      Lanham Act violation.
  15               THE COURT: Well, they do state that as a result
  16      of Wyndham's unlawful acts, the counterclaim Plaintiffs
  17      have been damaged, and I'm looking now at Page 23 of the
  18      counterclaim.
  19               MR. CHRISTU: Your Honor, I don't mean to
  20      interrupt, but to me that is the ultimate conclusory
  21      statement. They don't say how. They just say it is, and
  22      so that's I think exactly what the case law was designed
  23      to address especially, you know, post-Iqbal, you know,
  24      following, so you have to say something about it. They do
  25      not say why those allegedly false things have damaged this

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   1      law firm and it's just not there. I agree the words say
   2      it damaged them, but that's it.
   3               THE COURT: All right. Any other comments on the
   4      motion to dismiss? Anything further, Mr. Waugh?
   5               MR. WAUGH: Yeah, Your Honor. If this Court was
   6      inclined to consider dismissing one or more counts, I
   7      would ask the Court to consider possibly considering the
   8      motion a motion for a more definite statement, insofar as
   9      if there are deficiencies, I think that they would be
  10      easily -- easy to remedy. For example, if the Court did
  11      not consider the allegation of damages sufficient in Count
  12      IV, that's something that can happen overnight and my
  13      clients can plead that. Normally the allegation of
  14      damages is sufficient in say breach of contract actions
  15      and so on. It's normally not pled with a great deal of
  16      specificity, unlike fraud allegations, for example, where
  17      there's a heightened specificity required.
  18               So I would ask that the Court perhaps consider
  19      this a motion for a more definite statement or in the
  20      alternative grant me three days to file an amended
  21      pleading because these would be, I believe, things that
  22      are very easy to remedy. Thank you, Your Honor.
  23               THE COURT: I have obviously reviewed the
  24      counterclaim, the motion to dismiss and the response to
  25      the motion to dismiss, and while I agree that there's

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   1      still some deficiencies with regard to the counterclaim,
   2      they certainly are not as significant as the ones for the
   3      most part addressed in the Court's order at Doc. 275. I
   4      am going to dismiss the counterclaim and that will also
   5      provide a bases with regard to some of these affirmative
   6      defenses which we will address in just a moment and give
   7      the Defendants one final opportunity to amend. I'll give
   8      you 14 days to amend to try and correct some of the
   9      deficiencies.
  10               One of the things I will certainly agree with the
  11      Defendants is that some of the arguments raised by
  12      Plaintiffs basically are denials which aren't sufficient
  13      for motions to dismiss. I mean, you know, Wyndham says
  14      one thing and then Defendant say one thing and Wyndham
  15      says basically, well, that's not true. Well, that may be
  16      all well and good but I can't resolve that issue on a
  17      motion to dismiss.
  18               On a motion to dismiss I am accepting the
  19      allegations as true and then looking to see if the
  20      allegations of the complaint sufficiently establish a
  21      cause of action. And there was the one complaint, one
  22      count that admittedly was extremely weak. Which one was
  23      that?
  24               MR. WAUGH: Count III, Your Honor.
  25               THE COURT: Count III, yes. It was Count III.

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   1      Let me get back to it here, where there was just very
   2      little information. Under the common law unfair
   3      competition Count III, when you consider the incorporation
   4      of the foregoing paragraphs factually, there just were not
   5      many facts there.
   6               With regard to the standing issue, I think that on
   7      the complaint, again, assuming the allegations of the
   8      complaint as true, the Court cannot find as a matter of
   9      law that there is no standing. Standing is something that
  10      I think is more appropriately addressed particularly with
  11      regard to the Lanham Act on a motion for summary judgment
  12      where the Court can go beyond the four corners of the
  13      complaint.
  14               Nevertheless, Defendants will have an opportunity
  15      to add any additional language that is needed in order to
  16      strengthen their claim in this case. Same thing with
  17      regard -- and that also relates to, as I was discussing,
  18      Count IV where Plaintiffs argue that it's conclusory
  19      because it does not include the specific bases for the
  20      statements that the representations are false, misleading
  21      and deceptive, and I think it's just the way that it was
  22      drafted.
  23               Certainly you have, for example, Paragraph 50 on
  24      information and belief, Wyndham's said representations are
  25      false, misleading and deceptive, but then when you go

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   1      further to Paragraph 56, I construe 56 as being the
   2      factual basis for those earlier statements that the
   3      representations were false, misleading and deceptive and
   4      that's what Mr. Waugh, in fact, argued here is that that
   5      is the paragraph that provides the support for that
   6      argument, so I think that basically this is a complaint
   7      that the Defendants should be given an opportunity to fine
   8      tune, if you will, not one that I should dismiss with
   9      prejudice, and particularly knowing the history and the
  10      fact that Mr. Waugh had just recently been retained to
  11      represent Defendants in this case and did not have as much
  12      time and/or familiarity with the case as original Counsel
  13      and so I am going to give you leave to amend.
  14               Let me see if there was another one that I wanted
  15      to address specifically. I already talked about the
  16      argument that the Counts I through III should be dismissed
  17      because they are based upon a true statement. Again,
  18      that's an inadequate basis for me to dismiss a count
  19      because that actually goes to the proof, not to the
  20      allegations in the complaint. That's in essence a denial
  21      of the claims and that's not something that the Court can
  22      determine on a motion to dismiss unless it's just an issue
  23      of law, and in this case there are factual contentions
  24      that the Court would need to consider.
  25               I would agree that with regard to Count I, that

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   1      the counterclaimants don't -- still don't really specify
   2      the business relationship affording them legal rights, and
   3      that was something that was addressed in the Court's
   4      earlier order, and it's still I think insufficiently pled
   5      in the counterclaim, so that would be a basis for
   6      dismissal.
   7               I would deny it as to the standing issue but
   8      without prejudice to standing being asserted on a motion
   9      for summary judgment, and I think that by giving leave to
  10      amend, that obviously gives the Defendants an opportunity
  11      to add more facts to the claims and perhaps even eliminate
  12      the standing argument. So, in other words, I'm going to
  13      grant the motion to dismiss in part, deny it in part, give
  14      the Defendants leave to amend, 14 days. This is a final
  15      opportunity for amendment.
  16               The case is getting old now. It's a '19 case.
  17      This is '21, and I apologize for the delay it's taken us
  18      in getting to these motions, but trust me, we have been
  19      extremely busy with cases. I mean you list the people,
  20      talk about Covid and how they're working remotely and this
  21      and that, well, we're not. We're here. We're in court
  22      and we're having proceedings, you know, and I actually
  23      think that I have more written submissions because of
  24      Covid, as I call them to my law clerks, these are Covid
  25      filings, and I'm not suggesting that they are in this case

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   1      but I realize the attorneys aren't out as much in
   2      depositions, they're not out as much as they would be at
   3      mediations and so you're at your desk or at your homes and
   4      you are working and you are filing more pleadings for the
   5      Court or more submissions. Nevertheless, that's the order
   6      of the Court on the motion to dismiss.
   7               Let's now turn to the motion to strike the
   8      affirmative defenses, and the only way -- the best way I
   9      know to do this, although it may be a little
  10      time-consuming, is just to go through each one. The
  11      motion to strike addresses a number of affirmative
  12      defenses, and needless to say, there are still a number of
  13      them remaining. So we will go through them one by one and
  14      I will give you my ruling with regard to the motion to
  15      strike certain of the Montgomery Defendants' Amended
  16      Affirmative Defenses.
  17               The second one at issue -- the first one at issue
  18      is the Second Affirmative Defense with regard to statute
  19      of limitations.
  20               MR. CHRISTU: Thank you, Your Honor. So, again, I
  21      know Your Honor read our filings, and so I'm going to try
  22      not to just completely restate what's in them, but I think
  23      we were pretty clear, but I'm just going to try to
  24      elaborate on each one and then I'll let Your Honor rule.
  25               There isn't a specific statute of limitations in

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   1      the Lanham Act, so I can't just go and say, well, this is
   2      what it is and look it up and that everybody on this call
   3      is going to be agreeing with what it is. Okay? Because
   4      there's different arguments that could be made. There
   5      could be some tolling arguments. There's lots of
   6      different types of arguments that could be made on statute
   7      of limitations, and so the idea that Counsel for the
   8      Defendants suggest, you know, we don't have to tell you
   9      that is just I don't think appropriate. We need some
  10      predicate facts that would show how the statute of
  11      limitations would apply or which statute.
  12               We cite a case to that affect. And the real --
  13      but the real gist of it is putting us on notice. They
  14      know what they mean. You know, they have some idea where
  15      they're coming from on the statute of limitations, but
  16      just to say the words statute of limitations is
  17      insufficient in this context.
  18               THE COURT: Response.
  19               MR. WAUGH: Well, Your Honor, there is no statute
  20      of limitations in the Lanham Act, so this doesn't apply to
  21      the Lanham Act claim. This applies to all the other
  22      counts. And you know what? Tortious interference statute
  23      of limitations --
  24               THE COURT: See, that in and of itself is helpful.
  25      That's why your Second Affirmative Defense is deficient,

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   1      because, I mean, some or all of Plaintiffs' claims are
   2      barred by the statute of limitations. Which one? If this
   3      was a one-count negligence claim before me on diversity
   4      jurisdiction, that would be easy. They would know what
   5      the statute of limitations is based upon a negligence
   6      claim, but when it's a multi-count complaint and you say
   7      some or all, obviously that is deficient. You may
   8      continue.
   9               MR. WAUGH: I accept the criticism from Your Honor
  10      and I guess what -- when I look at this claim, I know that
  11      the statute of limitations is four years and I know that
  12      all the other claims have very -- learned opposing Counsel
  13      is Board certified in litigation, that they know what the
  14      statute of limitations is for these counts, but I
  15      certainly accept the criticism on the Lanham Act point,
  16      that there is no statute of limitations for the Lanham
  17      Act.
  18               THE COURT: Well, and when you refile, I need you
  19      to be specific. I don't want "some or all." If it's the
  20      tortious interference claim, you say the tortious
  21      interference claim. If it's the Lanham Act claim, well,
  22      we know that won't be, then that's fine. But I mean, you
  23      can specify the counts in a multi-count complaint. I
  24      agree, that's just not adequate for a multi-count
  25      complaint, so I would grant the motion to strike as to the

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   1      Second Affirmative Defense.
   2               The next one is the Fifth Affirmative Defense.
   3               MR. CHRISTU: Yes, Your Honor. This one, really
   4      the legal basis for this affirmative defense frankly to us
   5      is unclear, Your Honor. It doesn't -- certainly doesn't
   6      give it a label. I mean it doesn't say really what -- you
   7      know, it's not like it's just sort of an explanation of a
   8      fact pattern, and I guess I just don't know. It doesn't
   9      have a phrase or some type of label associated with it. I
  10      understand what they're saying in the sense of -- but it
  11      really is unclear what the legal basis for this is. And
  12      then probably more importantly, which would be the
  13      important thing for us to either avoid it or do something
  14      in response, it doesn't apply -- explain how this defense
  15      would apply to Defendants as third parties and strangers
  16      to the contract, so we really need to be able to
  17      understand what the legal basis for this one is.
  18               THE COURT: Response.
  19               MR. WAUGH: Your Honor, this is an avoidance
  20      because it's an illegality affirmative defense. No, there
  21      is no label and none are required under the rules, but
  22      it's an illegality affirmative defense whereby if
  23      Plaintiffs' behavior is illegal and my clients are helping
  24      them get out of it, then that's an avoidance, and we
  25      believe that it applies to all of the causes of action.

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   1               THE COURT: Okay. Then would you state that when
   2      you refile?
   3               MR. WAUGH: (Nodding head.)
   4               THE COURT: I'm looking at your response to the
   5      motion to strike and you call it -- you could call it a
   6      hero defense, but these are both really different
   7      iterations of an illegality defense. That's easy to state
   8      in your Fifth Affirmative Defense so that the opposing
   9      party is on notice as to exactly what you are talking
  10      about, so, again, I would grant the motion as to No. 5.
  11               No. 6.
  12               MR. CHRISTU: Yes, Your Honor, I'm kind of trying
  13      to weave in the response of Counsel as well here. Part of
  14      the problem is sort of the failing to identify the
  15      particular portions of statutes and sort of the glomming
  16      together, if you will, of some of these, you know,
  17      defenses. They should be limited to one claim per defense
  18      so we can adequately respond, and part of the problem here
  19      is sort of -- and this really applies to the Sixth, the
  20      Eleventh and Twenty-first Affirmative Defense in terms of
  21      really not telling us what particular portions of statutes
  22      are implicated and not giving us any predicate facts in
  23      these defenses, so that's our position on those, Your
  24      Honor. It's really, again, kind of a putting us on notice
  25      of what they're really saying here.

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   1               THE COURT: Response.
   2               MR. WAUGH: Your Honor, this is indeed another
   3      illegality defense that is premised on the Sherman
   4      Antitrust Act, however, I have heard the Court's ruling on
   5      the previous affirmative defense. I think the same would
   6      apply here. We could spell it out and give more notice,
   7      and so if that's how the Court is so inclined, we're happy
   8      to comply.
   9               THE COURT: That is how I am inclined to rule with
  10      regard to it, and I would agree that if you have a defense
  11      that is based upon the Sherman Act, then I don't think you
  12      need to identify it five different times in your
  13      affirmative defenses, but I think you should identify the
  14      defense in conjunction with the claim that you intend to
  15      assert the defense against, so to the extent that you are
  16      raising the Sherman Act defense to Count I, and I'm just,
  17      of course, you know, using that for illustration purposes,
  18      then in a multi-count complaint it's just so much clearer,
  19      and that helps you, that helps the Court. If the case
  20      gets to trial, that helps the jury to understand exactly
  21      which defenses are raised as to which counts.
  22               All right. So that takes care of the Sixth
  23      Affirmative Defense. You will again address those issues
  24      as I have discussed.
  25               I think that takes us to the Eleventh which is

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   1      similar to what was just argued, because again Eleven
   2      indicates that, again, it's a violation of the Sherman Act
   3      as well as the Florida Antitrust Act.
   4               MR. WAUGH: Yes, Your Honor.
   5               THE COURT: I'm sorry. Let me start with the
   6      proponent of the motion.
   7               Mr. Christu, Number Eleven.
   8               MR. CHRISTU: Yes. I think honestly -- I mean our
   9      argument was the same for Six, Eleven and Twenty-one. We
  10      would make really the same argument.
  11               THE COURT: Okay. And Mr. Waugh.
  12               MR. WAUGH: On Eleven, I think the Court's holding
  13      is dispositive of that one, but on Twenty-one, believe it
  14      or not, I actually identified the claim to which it is
  15      addressed which is FDUTPA.
  16               THE COURT: Yes.
  17               MR. WAUGH: So I would respectfully submit that
  18      this one actually complies with what the Court had said on
  19      the last two.
  20               THE COURT: I tend to agree with you that
  21      Twenty-one is more specific. The Twenty-first Affirmative
  22      Defense, you do identify FDUTPA and you indicate why, that
  23      the Montgomery Defendants' actions are permitted under
  24      Federal and state law, specifically the Sherman Act, The
  25      Florida Antitrust Act and Florida Common law. So I do, I

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   1      agree, I think that Twenty-one is fine.
   2               MR. CHRISTU: Your Honor, we just skipped over
   3      Seven, if I could go back to Seven.
   4               THE COURT: Yes, let's go back to Seven. Seven is
   5      a standing affirmative defense.
   6               MR. CHRISTU: Judge, Seven is really kind of easy.
   7      I mean I think any time a defense starts out, you know,
   8      "certain Plaintiffs," I mean key in "certain Plaintiffs."
   9      We need specificity. I think they're even kind of
  10      admitting that one frankly, so anyway, it doesn't identify
  11      which claims that supposedly lack standing. Certain
  12      Plaintiffs lack standing and we're not sure which claims.
  13               THE COURT: Response.
  14               MR. WAUGH: Your Honor, the point of this
  15      affirmative defense is that we have in this case, let's
  16      see, one, two, three, four, five, six, seven Plaintiffs
  17      that I can see, and I might have miscounted, but Shell
  18      Vacations, SVC-West, SVC-Hawaii, they all are going to
  19      have different timeshare owners associated with them.
  20      What this affirmative defense is supposed to be saying --
  21      and the fact that I have to explain it speaks for itself
  22      as the Court has pointed out, but the point of this
  23      affirmative defense is that not all Plaintiffs are
  24      probably going to have the same standing under each count,
  25      and we don't know which ones it is until we actually get

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   1      into the discovery, so I can spell that out a little bit
   2      more, but that's what we mean.
   3               THE COURT: And I understand that when you
   4      submitted the affirmative defenses and counterclaim that
   5      you may not have had as much information about the case as
   6      you do now based upon discovery, although I know there
   7      have been some discovery issues in this case too, but I do
   8      think that since you will have an opportunity to amend, to
   9      the extent that you can spell out more, you should.
  10      Again, it's difficult because this is a multi-counts claim
  11      with multiple parties, Plaintiffs and Defendants, and it
  12      is difficult to know which ones lack standing, which ones
  13      don't, and as to which claims. I know that there's an
  14      issue with regard to standing at least that was raised in
  15      the motion to dismiss for the Lanham Act, but I'm not sure
  16      of what the basis is that Plaintiffs lack standing for
  17      some or all of their claims. I would agree that as to
  18      Number Seven, more specificity is required.
  19               MR. WAUGH: Understood.
  20               THE COURT: We have already talked about Eleven.
  21      My understanding is that you have agreed to strike Number
  22      Fifteen.
  23               MR. WAUGH: That's correct, Your Honor, a meet and
  24      confer that worked.
  25               THE COURT: Wonderful.

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   1               MR. CHRISTU: Yes, it did, Your Honor.
   2               THE COURT: Wonderful. That now takes us to
   3      Sixteen.
   4               MR. CHRISTU: Yes. I think Sixteen and Seventeen
   5      to some extent are related, Your Honor, and I can't really
   6      say it any better than I said it in our motion to dismiss,
   7      Judge, because I laid it out pretty good. You know, they
   8      really are denials, not affirmative defenses, Judge, and
   9      we cited some case law to you there.
  10               You know, I think this defense is insufficient and
  11      frankly confusing just in terms of how much it relates
  12      between Sixteen and Seventeen. As we said, we have to
  13      demonstrate standing as part of our false advertising
  14      claim and so them just saying, you know, you don't have it
  15      really is more of a denial than a defense and so on that
  16      basis we think it should be stricken.
  17               THE COURT: Response.
  18               MR. WAUGH: Yes, Your Honor, I think the Supreme
  19      Court case Lexmark, 572 U. S. 118 says that this is a
  20      standing issue, and a standing normally is something that
  21      can be raised as an affirmative defense, so we've done so.
  22      The Supreme Court gave two different bases. We have
  23      enumerated them in these two affirmative defenses and
  24      explained sufficient facts to put Plaintiffs on notice
  25      about why we're claiming it.

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   1               THE COURT: I would agree with you as to Sixteen
   2      and Seventeen. I think that standing can be raised as an
   3      affirmative defense and you have provided more information
   4      with regard to Sixteen and Seventeen, so I would deny the
   5      motion to strike as to Sixteen and Seventeen. That takes
   6      us to Twenty.
   7               MR. CHRISTU: Yes, Your Honor, Twenty, it's just
   8      not clear what legal basis this is based on. Again, it
   9      does not really have a title. I understand you don't have
  10      to put a title on or what you're talking about, but you do
  11      that at your peril. If you just sort of describe a
  12      situation, and here we have the words "legally justified."
  13      We have the word "privileged." We have a concept of
  14      "terminable at will," and we have a concept of
  15      "expectancy," and all of this is just sort of jumbled into
  16      the Twenty Affirmative Defense and it just is not clear at
  17      all to us what the real legal basis is with respect to
  18      this defense.
  19               THE COURT: Response.
  20               MR. WAUGH: Your Honor, I think we explained it
  21      extremely clear in our response in opposition, but the
  22      Court has made its point, that if I can explain it in a
  23      response in opposition, I might as well explain it in the
  24      pleading to make it easy and actually fair, so I would
  25      concede that I could do better on that point.

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   1               THE COURT: All right. I would grant the motion
   2      to strike as to the Twentieth Affirmative Defense.
   3               We're now at Number Twenty-One.
   4               MR. CHRISTU: Judge, I'm not sure --
   5               MR. WAUGH: The Court ruled on that earlier.
   6               THE COURT: Did I rule on that? I did. Sure.
   7      I've ruled on Twenty-one. We're now at Twenty-three.
   8               MR. CHRISTU: Judge, I'm going to skip over
   9      Twenty-three. I don't think we're going to contest that
  10      one. I may ask my partner to my left. If I might move on
  11      to Twenty-five.
  12               THE COURT: Okay. You may.
  13               MR. CHRISTU: So, Your Honor, on Twenty-five, our
  14      argument there is set forth in our matters is this just
  15      isn't legally facially. I understand it's not just one to
  16      disagree with but it's just a legally facially
  17      unsupportable defense because this doctrine is one where
  18      you would be conspiring -- it only applies when you're
  19      conspiring with yourself internally.
  20               Both the allegations to which this defense is
  21      asserted is a conspiracy with separate entities, so as a
  22      matter of law, this defense could not be a legally
  23      supportable defense to that claim and as such we would
  24      seek it to be stricken.
  25               THE COURT: Response.

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   1               MR. WAUGH: Actually, Your Honor, that is not what
   2      is pled unfortunately. That's why we put the affirmative
   3      defense in there. I'm pulling up the Complaint to bring
   4      up the allegations, but this relates to Counts VI, there's
   5      a conspiracy -- no, not VI. I apologize, Your Honor.
   6      It's taking me a moment.
   7               THE COURT: Count VIII.
   8               MR. WAUGH: Yes, Your Honor. Well, here's the
   9      thing. Count VIII, civil conspiracy against all
  10      Defendants. It doesn't specify. It's not limited in who
  11      they're conspiring with, and what it actually states in
  12      this Count is that all Defendants conspired with each
  13      other, and this includes the individual Defendants and the
  14      corporate Defendants. It makes no distinction whatsoever,
  15      so the reason why this affirmative defense exists is to
  16      protect any liability from the corporate entity's
  17      conspiring with their own individual agents which is
  18      exactly what they've pled.
  19               THE COURT: Okay. Response. Anything further on
  20      that one, Mr. Christu?
  21               MR. CHRISTU: No, Your Honor.
  22               THE COURT: I think that Count III does state a
  23      claim for civil conspiracy against all Defendants, and so
  24      I would deny the motion to strike as to Number
  25      Twenty-five.

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   1               So have you made a decision about Twenty-three or
   2      are you withdrawing it?
   3               MR. CHRISTU: Yes, we'll withdraw it, Your Honor.
   4               THE COURT: All right. So the motion to strike as
   5      to Twenty-three is withdrawn. And I think that resolves
   6      all of the issues raised on the motion to strike. Is
   7      there anything else --
   8               MR. CHRISTU: Yes, Your Honor.
   9               THE COURT: -- that the Court needs to be aware of
  10      regarding this case?
  11               MR. CHRISTU: I don't think at this time, Your
  12      Honor. Obviously Your Honor ruled 14 days for the
  13      amendment; correct?
  14               THE COURT: Yes. Yes.
  15               MR. CHRISTU: Fourteen days.
  16               THE COURT: Anything, Mr. Waugh?
  17               MR. WAUGH: No. Nothing further from my end, Your
  18      Honor. Thank you.
  19               THE COURT: All right. So let me state, since
  20      I've taken up over an hour of your time and mine going
  21      through this orally today, do not expect a lengthy
  22      detailed order. It will be shorter, and it will basically
  23      address my rulings so that you have something in writing,
  24      but to the extent that you require details, you can
  25      contact the court reporter to get a transcript.

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   1               MR. CHRISTU: Yes, Your Honor.
   2               THE COURT: Anything else?
   3               MR. CHRISTU: No, Your Honor. Thank you.
   4               THE COURT: All right. Thank you-all. That
   5      concludes this proceeding. We are adjourned. You are
   6      free to leave the meeting.
   7    (Court was adjourned at 2:40 p.m.)
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   1    UNITED STATES DISTRICT COURT )
   2                                      )
   3    MIDDLE DISTRICT OF FLORIDA        )
   4
   5               I, SHARON A. MILLER, Official Court Reporter for
   6      the United States District Court, Middle District of
   7      Florida, do hereby certify that pursuant to Section 753,
   8      Title 28, United States Code that the foregoing is a true
   9      and correct transcript of the stenographic notes taken by
  10      computer-aided transcription taken in the above-entitled
  11      cause by the undersigned and that the transcript format is
  12      in conformance with the regulations of the Judicial
  13      conference of the United States.
  14    /S/Sharon A. Miller, CSR, RPR, CRR, FCRR
  15    Official Court Reporter
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